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                         UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA

   SHEMIKA N. SKILLINGS,                            )
                                                    )
                  Plaintiff,                        )
                                                    )
                  v.                                )      Case No. 17-CV-572-TCK-JFJ
                                                    )
   J. CHISUM, A. LAUDERDALE, and                    )
   C. CHAMBERS,                                     )
                                                    )
                  Defendants.                       )

                                      OPINION AND ORDER

           Before the Court is the Motion for Summary Judgment filed by Defendants J. Chisum, A.

   Lauderdale, and C. Chambers (“collectively defendants”)(Doc. 116). The defendants originally

   filed a Motion to Dismiss and argued that Plaintiff Shemika Skillings’s (“Ms. Skillings”) Third

   Amended Complaint (Doc. 115) failed to state a claim upon which relief could be granted. Ms.

   Skillings filed a Response opposing the motion (Doc. 123), and the defendants filed a Reply. (Doc.

   129).

           On July 28, 2021 this Court converted the Motion to Dismiss to a Motion for Summary

   Judgment and allowed the parties to file evidentiary materials in support of their Motion for

   Summary Judgment. (Doc. 135). Defendants filed their supplemental material on August 24, 2021.

   (Docs. 141 and 142). Thereafter, Plaintiff filed a Motion for Extension of Time to Respond to the

   Defendants’ supplements. (Doc. 143). The Motion for Extension was granted on September 13,

   2021. (Doc. 144). Plaintiff was granted until September 21, 2021 to file a Response to Defendants’

   evidentiary materials. Id.

           On September 21, 2021 Plaintiff filed a Second Motion for Extension of Time to Respond

   to Defendants’ Evidentiary Materials. (Doc. 145). The Court granted this Second Motion for

   Extension on September 28, 2021. (Doc. 146).


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           On October 5, 2021, Plaintiff filed a Third Motion for Extension of Time to Respond to

   Defendants’ Evidentiary Materials. (Doc. 147). The Court granted this Third Motion for Extension

   on October 6, 2021. (Doc. 148).

           In this case the Plaintiff has failed to comply with three orders of the Court. As of the date

   of this Order, the Plaintiff has not responded to Defendants’ Motion for Summary Judgment. (Doc.

   116).

                  Rule 41(b) of the Federal Rules of Civil Procedure provides as follows:

                  (b) For failure of the plaintiff to prosecute or to comply with these
                  rules or any order of court, a defendant may move for dismissal
                  of an action or any claim against the defendant. Unless the court in
                  its order for dismissal otherwise specifies, a dismissal under this
                  subdivision and any dismissal not provided for this rule, other than
                  a dismissal for lack of jurisdiction, for improper venue, or for failure
                  to join a party under Rule 19, operates as an adjudication upon the
                  merits.
                  (Emphasis added)

           The Plaintiff is advised that a final extension of time to respond to Defendants’ Motion for

   Summary Judgment (Doc. 116) is granted until December 6, 2021. Failure to comply with this

   Order could result in sanctions, which include dismissal without prejudice.

                  IT IS SO ORDERED, this 2nd day of December, 2021.




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